                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

UNITED STATES OF AMERICA                   )       Case No. 1:14-mj-269
                                           )
vs.                                        )
                                           )
CLINTON FRY                                )       JUDGE CARTER



                              MEMORANDUM AND ORDER

       In accordance with Rules 5 and 5.1 of the Federal Rules of Criminal Procedure and in
accordance with the Bail Reform Act, 18 United States Code ' 3142(f), the preliminary hearing
and detention hearing were held in this action on October 14, 2014. Those present included:

              (1) An Asst. U.S. Attorney (AUSA) for the Government.
              (2) The defendant.
              (3) Attorney Garth Best for defendant.

        Upon being sworn the defendant was informed or reminded of his privilege against
self-incrimination accorded him under the 5th Amendment to the United States Constitution.

         The defendant acknowledged he had received a copy of the Criminal Complaint.        It
was determined he was capable of being able to read and understand these proceedings.

       The AUSA moved the court the defendant be detained without bail.

                      Detention Hearing and Preliminary Hearing - Proof

       The AUSA called FBI Agent Micah Childers as a witness. He testified to the facts
outlined in the affidavit attached to the criminal complaint.

                                           Findings

       Having heard and considered the testimony of the Agent Childers during the detention
hearing and preliminary hearing and the Affidavit/Complaint, the undersigned finds:

              (1) There is probable cause to believe that there have been
              violations of 21 U.S.C. ' 841(a)(1) and (b)(1)(C), and 846,
              possession with the intent to distribute LSD and conspiracy to
              distribute LSD, committed in the Eastern District of Tennessee.

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            (2) There is probable cause to believe the defendant committed the
            aforesaid offenses.

            (3) The proof the defendant committed the aforesaid offenses is
            strong.

            (4) There are no conditions nor are there any combinations of
            conditions which will reasonably assure the safety of the
            community.

                                       Conclusions

      It is ORDERED:

            (1) The defendant is held to answer the charges against him in
            the District Court.

            (2) The AUSA’s motion to detain the defendant without bail is
            GRANTED for reasons set out in the separate ORDER OF
            DETENTION PENDING TRIAL filed with this order.

            (3) The defendant=s next appearance shall be before a U.S.
            Magistrate Judge at 10:00 a.m. on Monday, November 10, 2014.

      ENTER.

                                         sBj|ÄÄ|tÅ UA `|àv{xÄÄ VtÜàxÜ
                                         UNITED STATES MAGISTRATE JUDGE




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